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AO 245B (CASDRev. 02/18) Judgment in a Criminal Case for Revocations


                                    UNITED STATES DISTRICT Co RTl                                          FE~:~·~
                                          SOUTHERN DISTRICT OF CALIFORNI                                ---..   ------~:--~-J
             UNITED STATES OF AMERICA                                JUDGMENT IN A
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                                                                                                             0/7/\oEPUTY'
                                                                     (For Revocation of Pro bat dnYor Sull..erv1     :~i.;;;..:..~--~J
                                                                     (For Offenses Committed OiiO'r After November 1, 1987)
                               v.
               ILDEFONSO GUTIERREZ (1)
                                                                        Case Number:        3:17-CR-00016-WQH

                                                                     Richard J Boesen
                                                                     Defendant's Attorney
REGISTRATION NO.               59917-298
o-
THE DEFENDANT:
~ admitted guilt to violation ofallegation(s) No.           1-2

 D   was found guilty in violation ofallegation(s) No.    ~~~~~~~~~~~~~
                                                                                                      after denial of guilty.

Accordingly, the court has adjudicated that the defendant is guilty of the following allegation(s):

Allegation Number                   Nature of Violation
                                    nv3, Unlawful use of a controlled substance and/or Failure to Test; VCCA (Violent Crime
               1                    Control Act)
               2                    nv7, Failure to report as directed




      Supervised Release is revoked and the defendant is sentenced as provided in page 2 through 2 of this judgment.
 The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
        IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any
material change in the defendant's economic circumstances.

                                                                      February 4. 2019
                                                                      Date of Imn sition of Sentence




                                                                                                                3:17-CR-00016-WQH
         Case 3:17-cr-00016-WQH Document 86 Filed 02/06/19 PageID.266 Page 2 of 2

AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case for Revocations

DEFENDANT:               ILDEFONSO GUTIERREZ (1)                                                   Judgment - Page 2 of2
CASE NUMBER:             3:17-CR-00016-WQH

                                                 IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
   10 months




 D     Sentence imposed pursuant to Title 8 USC Section l 326(b).
 D     The court makes the following recommendations to the Bureau of Prisons:




 D     The defendant is remanded to the custody of the United States Marshal.

 D     The defendant shall surrender to the United States Marshal for this district:
       D    at                              A.M.              on
       D    as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 D
       Prisons:
       D    on or before
       D    as notified by the United States Marshal.
       D    as notified by the Probation or Pretrial Services Office.

                                                       RETURN
 I have executed this judgment as follows:

       Defendant delivered on


 at _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                   UNITED STATES MARSHAL



                                     By                     DEPUTY UNITED STATES MARSHAL



                                                                                                 3:17-CR-00016-WQH
